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UNITED STATES DISTRICT COURT be Yes kbp
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DISTRICT OF MARYLAND Op ip
AMENDED COMPLAINT z

Robert S. Keyser : Case Action No.: Jl CW 2 C | _ b LR

Plaintiff
V. :

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Brandon Scott, Mayor of Baltimore City; City Counsel of Baltimore; Marilyn
Moseby, Baltimore City States. Attorney; Casey Brinks, Assistant States Attorney;
Michael S. Harrison, Police Commissioner of the Baltimore City Police
Department; Mujahid Tahir, Baltimore City Police Officer (BCPO); Daniel Belen,
Baltimore City Police Officer {BCPO); Jashua Stackhouse, BCPO; Cristian Valencia,
BCPO; Dezambo, Baltimore City Detective; and the Baltimore City Police

; Department.

Defendants
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AMENDED COMPLAINT

Comes now Plaintiff, Robert Keyser, pro se, in proper person, and alleges in this Amended

Comptaint:

L. This action is brought pursuant to statute, 42 U.S.CA § 1983, to enforce the provisions
of the United States Constitution, and civil rights therein, namely, the 2™ Amendment,
the 4" Amendment, the 8 Amendment, andthe 14 Amendment; and itis further that
the above civil rights were violated by The Baltimore City Police Department (BCPD);
Further, damages and injuries include Malicious Prosecution, False Arrest, and Police
Brutality.

2. All conditions precedent to the filing of this suit have been satisfied.

JURISTDICTION AND VENUE

3, The above-named Court has Jurisdiction of this action, is proper in the United States

District Court for the District of Maryland, pursuant to “Civil Rights” violations of the

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UNITED STATES CONSTITUTION, brought Forth against Plaintiff by the Baltimore City

Police Department (“BCPD”);

4. this amended civil action is suitable and proper to be heard in the United States District
Court, of Baltimore Maryland; at 101 West Lombard Street, Baltimore, Maryland 21201,
because Defendant's and their agents are in this judicial district and all or a substantial
part of the acts or amissions giving rise to this cause of action took place in this judicial

district.
PARTIES

5. Robert Keyser is the Plaintiff; and is now and further mentioned in this complaint as
“Plaintiff’; and resides in single family home tocated at 72 Mellor Ave., Baltimore,

Maryland 21228.

6. Brandon Scott, Mayor of Baltimore City; City Counset of Baltimore; Marilyn Moseby,
Baltimore City States Attorney; Casey Brinks, Assistant States Attorney; Michael S.
Harrison, Police Commissioner of the Baltimore City Police Department; Mujahid Tahir,
BCPO; Daniel Belen, BCPO; Jashua Stackhouse, BCPO; Cristian Valencia, BCPO; Dezambo,
BCD; and the Saltimore City Police Department. Collectively referred to as “Defendants”

Defendants.

SERVICE ON DEFENDANTS

7. Plaintiff can serve Defendant by certified mail, restricted delivery through the United
States Postal! Service, and sending a copy of the complaint and a surnmons to Lisa
Walden, Esq., Chief of the Office of Legal Affairs, 100 North Holliday Street, Suite 101,

Baltimore, Maryland 21202.

STATEMENT OF FACTS

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8. Detendant's agents of BCPD illegally searched and seized property from Piaintiff’s
vehicle, falsely Imprisoned him, and brutalized him during an i{legal arrest. In doing so,
the BCPD injured Plaintiff's right shoulder, defamed his good name and reputation,
hindered his career, lowered his credit score, and violated bis constitutional rights of the

second, fourth, eighth, and 14", amendments of the United States Constitution.

9. On, or about, June 15, 2019, at approximately, 11:39 P.M., Plaintiff was ordered by an
officer of the BCPD “pap your trunk.” Plaintiff was not asked to pop his trunk, he was
ordered to do so; nor did he give the officer consent to search and seize his property
from his trunk. Plaintiff popped his trunk as commanded by the Officer of the BCPD,
because he feared the officer. Without Plaintiff's consent, or permission, the officer of
the 8CPD searched Plaintiff's trunk and living compartment of his vehicle and forcibly
seized Plaintiff's personal property from his vehicle, an unloaded shotgun from the
trunk, and a baseball bat from the living compartment. After the officer of the BCPD
seized Plaintiff's property, he was ordered out of his vehicle and placed in handcuffs,
without an explanation, or why he was being arrested. Later, Plaintiff found out that
BCPO Officer Tahir, arrested Plaintiff for aggravated assault because said his superior,

Sargent Reed, tald him to do so.

10. Violations of Plaintiff's civil rights, police brutality, and false arrest took piace in the 400

block of Font Hill Avenue, Baltimore, Maryland 21223.

11. Plaintiff was at Font Hill Avenue to call on officer Tahir of the BCPD. Plaintiff wanted the

BCPD to heip him get his phone from Miss Kimberty Hall. She admitted stealing

Plaintiff's cell phone hours earlier.

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12, Plaintiff informed officer Tahir that Miss Hall had outstanding arrest warrants and she
was taken into custody by officers of the BCPD. Hours later, an agent for Defendant,
BCPD, Detective Dezambo, conducted interviews of Miss Hall, a convicted prostitute and
fugitive, and her phone steeling accomplice, Mr. Coung Nguyen, a felonious sex offender
on Tier ill of the Sex Offender's Registry. Together, Miss Hall, and Mr. Nguyen,
concocted a story of false allegations against Plaintiff that resulted in changing Plaintiff's
initial charge of Aggravated Assault; and without any investigation or questioning of the

Plaintiff, Defendant's agents charged him with the following crimes:
a. Kidnapping;
b. Assault-First Degree;
c. Assault-Second Degree;
d. False Imprisonment;
e. Firearm use/Felony-Violent Crime; and

f. Firearm Over 14” Barrel.

13. On, or about, June 6, 2019, the State of Maryland denied Plaintiff bail. Even though he

had no criminal record and is a healthcare professional.

14, On, or about, July 11, 2019, the State of Maryland, once again denied Plaintiff bail, and
indicted him with 4 felonies and 2 misdemeanors as mentioned above. Plaintiff was
charged with these crimes solely on the words of Miss Half, a fugitive, a self-proctaimed
prostitute, and a drug addict: and Mr. Coung Nguyen, a convicted felon on probation for

sex offenses.

15. Plaintiff was alone in his vehicle when he called on Officer Tahir. Miss Hall was in Mr.

Neuyen’s vehicte. Plaintiff was never asked by any agent of Defendant if his vehicle

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could be searched, and Plaintiff never gave Officer Tahir or any agents of the Defendant
permission to search and seize property from his vehicle. Furthermore, Plaintiff was
never served with a search warrant, read his Miranda rights, or formally interviewed, or

interrogated by Detective Dezambo or any Detective(s) of the Defendant.

Detective Dezambo was on duty during the time of Plaintiff's arrest. Detective
Dezambo's job is te investigate serious crimes in the district where Plaintiff's alleged
crimes took place; however, Officer Tahir arrested Plaintiff, drafted the arresting report,
and submitted the firearm into evidence. No Detective of Defendant performeda
followed-up investigation for these profoundly serious charges, that carried over eighty

years of jail-time upon conviction.

At the time of his arrest, Plaintiff, had-no criminal record, and he never had one until he
was illegally searched, brutally arrested, faisely imprisoned, and maliciously prosecuted

for these crimes he did nat commit.

Plaintiff's actions did not warrant a search and seizer of his vehicle and property
because he was alone in his vehicle when he came contacted BCPD Officer Tahir and
other officers. Miss Hall was not in Plaintiff's vehicle; she wes in the vehicle of a
convicted felon. How could Officers and detectives of BCPD, and Defendant, conclude
that Plaintiff Kidnaped and Assaulted Miss Hall when he was alone in his vehicle, Mere
claims from known criminals do not warrant probable cause; and it is further that
Plaintiff summoned Officer Tahir, because Miss Hall stole his cell phone and he wanted
it back. Officers and detectives of BCPD and Defendant failed to check the Citi-watch
cameras that were placed in the areas where Miss Hall alleged, she was accosted by the
Plaintiff. If Officers, detectives, of the BCPD and, or, Defendant, had performed a
minimai investigation, viewed the footage from the Citi-Watch camera’s, probable cause

would have been ruled out; and the Plaintiff would not have been arrested because

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Miss Hali’s allegations would have been found to be false. Officers and detectives of the
BCPD knew that Miss Hall was not in Plaintiff's vehicle so probable cause was

nonexistent.

Defendant's agent searched the Plaintiff's locked trunk and living compartment of his
vehicle because of false statements. Defendant’s agents could have gotten definitive
proof by viewing the footage from the Citi-Watch cameras. Many of them were in the
locations where the alleged crimes took place. For example, the following addresses are
locations of Citi watch that were not reviewed by agents, detectives, or Defendant.

a. 1025 South Pulaski Street and Ashton Avenue, Baltimore, Maryiand 21223;
b. 1027 Smallwood Street and Ashton Avenue, Baltimore, Maryland 21223;
c. 1022 South Pulaski Street and McHenry Street, Baltimore, Maryland 21223; and

d. 1019 South Payson Street and McHenry Street, Baltimore, Maryland 21223.

Footage from severai other Citi-watch cameras in this area would also have proved
Plaintiff's innocence. For example, the Citi-Watch Camera at the 2000 block of McHenry
Street. Viewing footage should have been part of Defendant's investigation. It would
have led BCPD Officers, detectives, and, ar, other investigators, ta the conclusion that
the Plaintiff was innocent of the crimes. They would have gained definitive proof that

Miss Hall and Mr. Nguyen were falsely accusing Plaintiff of the alleged crimes.

Plaintiff was not afforded the same benefits of legal rights that Miss Half and Mr.
Nguyen were privileged with. This is violation Plaintiff's civil rights and a miscarriage of

justice.

Plaintiffs attorney, Public Defender, Lina Ziet, requested the Citi watch footage from

Defendant's agents; however, they claimed it was not available because of time

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restraints. In the name of Justice, this footage should have been reviewed and
preserved in a timely manner, The mere word of criminals is hardly justified prabable
cause and charging a person with prison terms of over eighty years of incarceration.
Justice demands that all of evidence, clues, Leeds, and suspects, be reviewed,

questioned, interrogated, and investigated.

Public privacy and civil rights depend on probable cause to be effective; and it protects
Citizens of the United States from being falsely arrested, imprisoned, violated, and

brutalized by mere words; especially words of known criminals.

Plaintiff is the one who summoned Officer Tahir, inthe 400 block of Font Hill Avenue,
Baltimore, Marytand 21223; however, Defendant's agent never investigated the words
of the Plaintiff. Therefore, the words of Miss Half and Mr. Nguyen should not have been

given the credit that law abiding citizens are afforded.

Plaintiff was legally transporting his firearm for the purpose of target practice. Just like
he told Officers of the Defendant. Therefore, his 4t* and 2°4 Amendment Rights of the

United States Constitution were violated,

Defendant's agents declined to return Plaintiff's firearm when he got home from prison,

further violating his 2°4 amendment right of the United States Constitution.

Plaintiff was maliciously prosecuted with 4 felonies and 2 misdemeanors, held without
bail for 164 days, brutalized during his arrest to the point that he required
hospitalization and treatment, his good name, credit, and reputation were damaged

beyond repair.

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28. Defendants did not proceed against Plaintiff in the interest of justice. They proceeded

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to harm the Plaintiff. Justice is not served when a fugitive and a felon lie to the police,
and cause law enforcement to file false criminal charges against a professional therapist

who helps people for a living.

She is not a creditable witness, and she has been found guilty numerous times for

crimes of maleficence,

On, or about, June 18, 2019, Plaintiff was to begin working at Mercy Medical Center, a
hospital where he previously worked for 2 years. Because Defendant-2 refused to
release Plaintiff, or give him bail, he lost this well-paying job of $37.00 per hour; and
because these charges developed into an adverse criminal record for the Plaintiff, he is
not able to obtain employment as an Occupational Therapy Assistant, or as a CDL Truck
Driver; two fields where Plaintiff holds licenses. Therefore, Plaintiff's professional life

has been ruined.

Before, Plaintiff was taken to the Hospital and Central Booking, he questioned several
of the BCPD officers, asking them why they were not letting him tell his side of the
story? Plaintiff saw Detective Dezambo, one time inthe front desk area of the
Southwest Police station on, or about, 0100 hours, June 16, 2019. Detective Dezambo,
looked at Plaintiff and asked the officers at the desk while pointing at the Plaintiff “is he
still going to the hespital?” One of the Officer's at the front desk said “yes.” Detective
Dezambo said he would not interview Plaintiff because he was going to the hospital.
Plaintiff required medical attention and he was not questioned by Detective Dezambo,
or any other Detectives of the Defendants. Therefore, BCPD retaliated against plaintiff

because he got the necessary medical attention he required. Another, injustice.

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And it is further, a couple of days after the plaintiff was reteased from the Jessup
Correctional Institute, he called the arresting officer, Officer Tahir and requested the
return of his shotgun; he knew that only the arresting officer could return the shotgun
to him; however, the arresting officer, Officer Tahir, referred the Plaintiff to his
supervisor. When the Plaintiff called Officer Tahir’s supervisor, he was, without
provocation, very belligerent to the Plaintiff and said, in a spiteful tone, “! ordered
Officer Tahir not to return your shotgun to you.” Further, violating the Plaintiff's

Constitutional Rights of the 299494 4th Amendments.

Plaintiff was eager to have his day in court. He believed that he could easily beat the
charges against him because they were all fabricated from the minds of careless jurists
who do not care about Justice, nor are they concerned with the innocent and people
who walk the righteous path. Regarding this injustice, Defendant's agents championed
dishonest people and self-proclaimed, drug addicted prostitutes and sex offenders, one

of which stole the Plaintiff's cell phone.

The Plaintiff's Public Defender, Miss Ziet, counseled him to take the prosecutor's offer
and avoid risking felony convictions by way of trial. The Plaintiff followed the advice
from his attorney, which was the following: Pled guilty to Carrying a firearm over 14”,
and the prosecutor will recommend Probation before Judgement (PBJ) and

unsupervised probation on the PBJ.

On, or about, December 4, 2020, The Honorable Judge, Melissa Phinn, found Plaintiff
guilty for CARRYING A FIREARM OVER 14”, in the Circuit Court of Maryland, at 100
North Calvert Street, Baltimore, Maryland 21202. The Honorable Judge struck the

conviction and gave the Plaintiff PBJ and 1 day of unsupervised probation. The

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maximum amount of incarceration for violating this lawis 60-days in jail; however, the

Plaintiff served 163-days in jail, for a crime he did not commit.

According to “Article 19, Baltimore city Legislative reference, 2021.” The penalty for
CARRYING FIREARM WITH BARREL OVER 14” isa minor offense and “any violation of
the provision of this section shall be deemed a misdemeanor, subject upon conviction to
a fine of not more than $500 or to imprisonment for not longer than 60 days or to both
fine and imprisonment, inthe discretion of the court. (City Code, 1976/83, art. 15, §97.}

{Ord, 80-154; Ord. 81-215.).

Officer Mujahid Tahir confiscated Plaintiff's 12-gauge Remington shotgun that he legally
purchased, and it was legally registered to him. Furthermore, when officer Tahir
confiscated Plaintiff's riffle, he was transporting it for the purpose of target practice; this
was the first time since he purchased the gun that he was going to shoot it.
Furthermore, the baseball bat that was in his car belonged to his grandson. Piaintiff’s
grandson left his bat in Plaintiff's vehicie after he took him home from his basebalt
game. Defendant's agents Plaintiff out to be a criminal, instead of a baseball fan of his

grandson. Another, miscarriage of justice.

Plaintiff was transporting the shotgun in the manner that Dicks Sporting Goods told him
to transport it home, after purchased it. The riffle was unloaded and lacked in the trunk
of his car. Therefore, Plaintiff submits that he was wrongfully arrested, and officer Tahir

had no reason for confiscating the riffle.

Plaintiff lost two, well-paying jobs, because of these violations of his constitutional

rights, jail time, and the adverse criminal record that damaged his good name.

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Employers, National Staffing, and TMC Transportation withdrew job offers because of

this miscarriage of justice.
PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that the Jury and the honorable court order Defendant to pay

the Plaintiff for the damages he suffered. Plaintiff submits are the following:

a. According to Governor Larry Hogan and Rachel Kesselman, Punitive damages for
false imprisonment are calculated at $50.00 per day. Plaintiff was imprisoned for
163-days, that equais $8,150;

b, Because of these false accusations, Plaintiff's fiancé decided not to have further
relations with him and returned his 2-karat diamond and gold engagement ring,
‘his cast $4,000. The Ring was stolen from his home while he was incarcerated
and the house was vacant. Homeowner's insurance policy does not cover
jewelry, it must be itemized. Plaintiff could not itemize the ring because he coutd
not cai his Insurance Company from prison.

c. Plaintiff's house was burglarized while he was incarcerated and his home was
vacant. insurance deductible $1,000;

d. Plaintiff tost a job with National Staffing agency that was going to compensate
him at the rate of $37.00 per hour. 40 hours per week = $1,480 per week at 4.2
weeks per Month = 6,216 per month x 12 months = $74,592 per year before
taxes. $55,944 after taxes x 3 years= $167,832;

e. TMC Transportation was going to compensate him at an average of $1,500 per
week, X 4.2 weeks per month= $6,300 per month, X 12 months= 75,600 per year
before tax, $56.700 after tax, x 3 years= 170,100;

f. Baseball bat = $30;

g. Because Plaintiff was held at Jessup Correctional Institute (JCI) a very scary place
to be. Full of hardened criminals and murderers. 163-days at this institution and
having his life threatened many times, caused Plaintiff to be stricken and

diagnosed with Post Traumatic Stress Disorder (PTSD). Because he wilt suffer

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from this disorder for the rest of his life, he is seeking punitive damages
equating: $1,000,000.

h. Because Plaintiff's professional career was damaged beyond repair, because of
published lies that were read by prospective employers and professional peers;

he is seeking compensation for lost wages from a ruined career, due to Libel and

Slander: $400,000;
g. Replacement compensation for Plaintiff's Shotgun equals, $350;
h. Pain and suffering, both mentally and physically: $400,000;
1, Punitive damages for violating Plaintiff's civil rights: $500,000; and
j. Punitive damages according to proof and damage to his credit score: $500,000;

WHEREFORE, Plaintiff prays that a jury find in favor of the Plaintiff and a judge of this
honorable court enter a judgement against the Defendants for the above amount, a through j,

totaling: $2,751,112; plus
K. interest as allowed by law;

tL. cost of suit: and

M. such other and further relief as the jury and the court may deem just and

proper.

Respectfully Submitted,

one Jk AS LOZ |

imore, Maryland 21228

(410)274-7621.

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